         Case
         Case 20-32021
              20-32021 Document
                       Document 891
                                909-6Filed
                                        Filed
                                            in in
                                               TXSB
                                                  TXSB
                                                     onon
                                                        12/01/20
                                                          01/06/21Page
                                                                    Page
                                                                       121ofof14
                                                                               3




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                              )
In re:                                                        ) Chapter 11
                                                              )
WHITING PETROLEUM CORPORATION,                                ) Case No. 20-32021 (DRJ)
et al.,1                                                      )
                                                              ) (Jointly Administered)
                            Reorganized Debtors.              )
                                                              )

                  DECLARATION OF ROBERT P. ESPOSITO
     IN SUPPORT OF THE REORGANIZED DEBTORS’ THIRTEENTH OMNIBUS
       OBJECTION TO CERTAIN PROOFS OF CLAIM (DUPLICATE CLAIMS)

         I, ROBERT P. ESPOSITO, hereby declare under penalty of perjury:

         1.       I am a Director of Alvarez & Marsal North America, LLC (“A&M”). A&M was

retained by the above-captioned debtors (collectively, the “Debtors” as applicable, and after the

effective date of their plan of reorganization, the “Reorganized Debtors”) as restructuring advisor

in connection with these chapter 11 cases. I have more than twelve (12) years of restructuring

experience.

         2.       I am generally familiar with the Reorganized Debtors’ day-to-day operations,

financing arrangements, business affairs, and books and records that reflect, among other things,

the Reorganized Debtors’ liabilities and the amount thereof owed to their creditors as of the

Petition Date. I have read the Reorganized Debtors’ Thirteenth Omnibus Objection to Certain




1
        The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
number, are: Whiting Canadian Holding Company Unlimited Liability Corporation (3662); Whiting Petroleum
Corporation (8515); Whiting US Holding Company (2900); Whiting Oil and Gas Corporation (8829); and Whiting
Resources Corporation (1218). The location of the debtors’ service address is: 1700 Lincoln Street, Suite 4700,
Denver, Colorado 80203.


27466111v.1
                                                                                                   EXHIBIT D-6
       Case
       Case 20-32021
            20-32021 Document
                     Document 891
                              909-6Filed
                                      Filed
                                          in in
                                             TXSB
                                                TXSB
                                                   onon
                                                      12/01/20
                                                        01/06/21Page
                                                                  Page
                                                                     132ofof14
                                                                             3




Proofs of Claim (Duplicate Bondholder Claims) (the “Objection”), filed contemporaneously

herewith.2

        3.        To the best of my knowledge, information, and belief, the assertions made in the

Objection are accurate. In evaluating the Duplicate Claims, the Reorganized Debtors and the

Reviewing Parties have reviewed the Reorganized Debtors’ books and records and the relevant

proofs of claim, as well as the supporting documentation provided by each claimant, and have

determined that each Duplicate Claim should be disallowed and expunged. As such, I believe that

the disallowance and expungement of the Duplicate Claims on the terms set forth in the Objection

is appropriate.

                                             Duplicate Claims

        4.        The Reorganized Debtors have determined that each Duplicate Claim identified on

Exhibit A of the Order under “Claim(s) To Be Disallowed” is duplicative of other proofs of

claim—the “Remaining Claims” identified on Exhibit A of the Order—filed by or on behalf of

the same claimant with respect to the same liabilities. Each Duplicate Claim was filed by

individual prepetition bondholders with respect to claims under the Senior Convertible Notes, 2021

Notes, 2023 Notes, and 2026 Notes.

        5.        I understand that the Bar Date Order did not require the Debtors’ individual

prepetition bondholders to file proofs of claim, but instead provided that the indenture trustee for

the Senior Convertible Notes, 2021 Notes, 2023 Notes, and 2026 Notes would file a single master

claim on behalf of all claimants thereunder. As such, each Duplicate Claim is duplicative of the

following Remaining Claims filed by the indenture trustee on behalf of each of the Debtors’

prepetition bondholders, as identified on Exhibit A to the Order:



2
        Capitalized but undefined terms herein shall have the same meaning ascribed to them in the Objection.

                                                       2
27466111v.1
                                                                                             EXHIBIT D-6
       Case
       Case 20-32021
            20-32021 Document
                     Document 891
                              909-6Filed
                                      Filed
                                          in in
                                             TXSB
                                                TXSB
                                                   onon
                                                      12/01/20
                                                        01/06/21Page
                                                                  Page
                                                                     143ofof14
                                                                             3




               a.      The Bank of New York Mellon Trust Company, N.A., as indenture trustee
                       for the 2021 Notes, the 2023 Notes, and the 2026 Notes, filed Proof of Claim
                       No. 997 against Whiting Petroleum Corporation; and

               b.      The Delaware Trust Company, as indenture trustee for the Convertible
                       Senior Notes, filed Proof of Claim No. 1071 against Whiting Petroleum
                       Corporation.

        6.     Failure to disallow and expunge the Duplicate Claims could potentially result in the

relevant claimant receiving an unwarranted recovery against the Reorganized Debtors to the

detriment of other creditors. Accordingly, I believe that disallowance and expungement of the

Duplicate Claims on the terms set forth in the Objection and Exhibit A is appropriate.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the facts set forth in

the foregoing declaration are true and correct to the best of my knowledge, information and belief.


Dated: December 1, 2020

                                              /s/ Robert P. Esposito
                                              Robert P. Esposito
                                              Alvarez & Marsal North America, LLC




                                                 3
27466111v.1
                                                                                 EXHIBIT D-6
